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 3

 4                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                               FOR THE COUNTY OF JOSEPHINE

 6     DONALD L. OLSON as TRUSTEE OF       )               No.
       THE OLSON LIVING TRUST,             )
 7                                         )               COMPLAINT
                   Plaintiff,              )
 8                                         )               (Breach of Contract)
                   vs.                     )
 9                                         )               PRAYER AMOUNT: $69,604.39
       CHICAGO TITLE INSURANCE             )
10     COMPANY, successor to TICOR TITLE )                 CLAIM NOT SUBJECT TO
       INSURANCE COMPANY                   )               MANDATORY ARBITRATION
11                                         )
                   Defendant.              )
12     ___________________________________ )

13            Plaintiff alleges as follows:

14                                                 1.

15            Plaintiff is the owner of real properties located at 1711 Softwood Way, Grants

16     Pass, Oregon 97526, 1115 Catherine Way, Grants Pass, Oregon 97526, 1726 Kids

17     Way, Grants Pass, Oregon 97526, and 1736 Kids Way, Grants Pass, Oregon 97526.

18                                                 2.

19            At all material times, Ticor Title Insurance Company was a California

20     corporation which issues real property title insurance policies. At the time when the

21     policies were issued, Defendant was a licensed insurance producer, and transacted

22     insurance in the state of Oregon. At all material times, Defendant, Chicago Title

23     Insurance Company was the successor in interest to Ticor Title Insurance Company.

24                                                 3.

25            On or about May 1, 2008, Defendant issued lender’s Policy No. 26-62822, in

26     connection with the real property at 1711 Softwood Way, and identifying Plaintiff as

27     the Insured. A copy of the policy is attached hereto as “Exhibit 1" and is thereby

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 1     incorporated. At the time the policy was issued, Plaintiff was the beneficiary of a first

 2     Trust Deed on the property, which is recorded in the Official Records of Josephine

 3     County as Instrument No. 2008-017530. Subsequently, the grantor of the Trust Deed

 4     defaulted in its obligation to Plaintiff, and on or about May 25, 2011 the real property

 5     was conveyed to Plaintiff via a deed in lieu of foreclosure, which was recorded in the

 6     Official Records of Josephine County as Instrument No. 2011-006124.

 7                                                 4.

 8            In early June of 2011, Plaintiff discovered that prior to the issuance of the

 9     insurance policy, 1711 Softwood Way was encumbered by System Development

10     Charges, (hereinafter: “SDC’s”) which were not disclosed in Schedule B of the Policy

11     as being excepted from coverage. At the same time, Plaintiff discovered that prior to

12     the issuance of the insurance policy, 1711 Softwood Way was encumbered by

13     Advanced Financed District Charges, (hereinafter: “AFD’s”), which were not disclosed

14     on Schedule B of the Policy as an exception to coverage, sufficient to put Plaintiff on

15     notice of a pre-existing financial obligation.

16                                                 5.

17            On or about April 29, 2008, Defendant issued lenders Policy No. 26-62819, in

18     connection with the real property at 1115 Catherine Way, and identifying Plaintiff as

19     the Insured. A true copy of the policy is attached hereto as “Exhibit 2" and is thereby

20     incorporated. At the time the policy was issued, Plaintiff was the beneficiary of a first

21     Trust Deed on the property, which was recorded in the Official Records of Josephine

22     County as Instrument No. 2008-007139. Subsequently, the grantor of the Trust Deed

23     defaulted on its obligation to Plaintiff, and on or about May 25, 2011, the real

24     property was conveyed to Plaintiff via a deed in lieu of foreclosure, which was

25     recorded in the Official Records of Josephine County as Instrument No. 2011-006123.

26     ///

27     ///

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 1                                                 6.

 2            In early June of 2011, Plaintiff became aware that prior to the issuance of the

 3     insurance policy 1115 Catherine was encumbered by SDC’s, which were not disclosed

 4     in Schedule B of the Policy as being excepted from coverage. At the same time,

 5     Plaintiff discovered that prior to the issuance of the insurance policy, 1115 Catherine

 6     Way was encumbered by AFD’s, which were not disclosed on Schedule B of the Policy

 7     as an exception to coverage, sufficient to put Plaintiff on notice of a pre-existing

 8     financial obligation.

 9                                                 7.

10            On or about August 30, 2007, Defendant issued lenders Policy No. 26-60393,

11     in connection with the real property at 1726 Kids way, and identifying Plaintiff as the

12     Insured as to an undivided 50% interest. A true copy of the policy is attached hereto

13     as “Exhibit 3" and is thereby incorporated. At the time the policy was issued, Plaintiff

14     was the beneficiary of a first Trust Deed as to an undivided 50% interest. The Trust

15     Deed was recorded in the Official Records of Josephine County as Instrument No.

16     2007-017096. Subsequently, the grantor of the Trust Deed defaulted on its obligation

17     to Plaintiff, and on or about May 25, 2011 the real property was conveyed to Plaintiff

18     alone via a deed in lieu of foreclosure, which was recorded in the Official Records of

19     Josephine County as Instrument No. 2011-006125.

20                                                 8.

21            In early June of 2011, Plaintiff became aware that prior to the issuance of the

22     insurance policy 1726 Kids Way was encumbered by SDC’s, which were not disclosed

23     in Schedule B of the Policy as being excepted from coverage. At the same time,

24     Plaintiff discovered that prior to the issuance of the insurance policy, 1726 Kids Way

25     was encumbered by AFD’s, which were not disclosed on Schedule B of the Policy as an

26     exception to coverage, sufficient to put Plaintiff on notice of a pre-existing financial

27     obligation.

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 1                                                 9.

 2            On or about November 19, 2008, Defendant issued lenders Policy No. 26-

 3     64437, in connection with the real property at 1736 Kids Way, and identifying

 4     Plaintiff as the Insured. A true copy of the policy is attached hereto as “Exhibit 4" and

 5     is thereby incorporated. At the time the policy was issued, Plaintiff was the

 6     beneficiary of a first Trust Deed, recorded in the Official Records of Josephine County

 7     as Instrument No. 2008-017530. Subsequently, the grantor of the Trust Deed

 8     defaulted in its’ obligations to Plaintiff, and on or about May 25, 2011 the real

 9     property was conveyed to Plaintiff via a deed in lieu of foreclosure, which was

10     recorded in the Official Records of Josephine County as Instrument No. 2011-006126.

11                                                 10.

12            In early June of 2011, Plaintiff became aware that prior to the issuance of the

13     insurance policy 1736 Kids Way was encumbered by SDC’s, which were not disclosed

14     in Schedule B of the Policy as being excepted from coverage. At the same time,

15     Plaintiff discovered that prior to the issuance of the insurance policy, 1736 Kids Way

16     was encumbered by AFD’s, which were not disclosed on Schedule B of the Policy as an

17     exception to coverage, sufficient to put Plaintiff on notice of a pre-existing financial

18     obligation.

19                                                 11.

20            The “Covered Risks” section of each policy is identical, and provides that

21     subject to the exclusions from coverage contained in Schedule B, as of the date of the

22     policy, Defendant would insure Plaintiff against any loss or damage sustained or

23     incurred by reason of:

24                   “Any defect in or lien or encumbrance of the Title. This Covered Risk
                     includes but is not limited to insurance against loss from [T]he lien of
25                   real estate taxes or assessments imposed on the Title by a governmental
                     authority due or payable, but unpaid.” Covered Risks 2(b).
26

27     ///

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 1                                                 12.

 2            On or about May 20, 2013, Plaintiff submitted a Proof of Loss to Defendant as

 3     to each and every loss, and has performed all other obligations under the policies.

 4     Defendant or Defendant’s successor has denied each of Plaintiff’s claims under the

 5     policies.

 6                                    FIRST CLAIM FOR RELIEF

 7                                        (Breach of Contract)

 8                                                 13.

 9            Plaintiff re-alleges Paragraphs 1 through 12 above.

10                                                 14.

11            Plaintiff entered into an insurance contract with Defendant. Defendant agreed

12     to insure Plaintiff against any defects caused by any liens or encumbrances on the title

13     of 1711 Softwood Way, caused by the real estate of real estate taxes or assessments

14     imposed by a governmental authority due or payable, but unpaid. Despite this

15     agreement, Defendant refused to pay Plaintiff’s losses related to a covered risk.

16                                                 15.

17            Plaintiff is the beneficiary of the insurance contract and has the right to receive

18     loss payment in these circumstances.

19                                                 16.

20            Plaintiff has performed all of Plaintiff’s obligations under the terms of the

21     Policy. Plaintiff has presented Proofs of Loss to Defendant, and presented claims

22     under the Policy with Defendant, which have been denied. Plaintiff has exhausted

23     Plaintiff’s remedies under the Policy, short of litigation.

24                                                 17.

25            Defendant has breached its contract with Plaintiff by failing to pay Plaintiff’s

26     claims in accordance with the terms of the Policy. Plaintiff has been damaged in the

27     amount of $15,594.95, or such other amount as may be proven at trial, because of

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 1     Defendant’s failure to pay for damages which are covered under the Policy.

 2                                   SECOND CLAIM FOR RELIEF

 3                                        (Breach of Contract)

 4                                                 18.

 5            Plaintiff re-alleges Paragraphs 1 through 17 above.

 6                                                 19.

 7            Plaintiff entered into an insurance contract with Defendant. Defendant agreed

 8     to insure Plaintiff against any defects caused by liens or encumbrances on the title of

 9     1115 Catherine Way, caused by the real estate of real estate taxes or assessments

10     imposed by a governmental authority due or payable, but unpaid. Despite this

11     agreement, Defendant refused to pay Plaintiff’s losses related to a covered risk.

12                                                 20.

13            Plaintiff is the beneficiary of the insurance contract and has the right to receive

14     loss payment in these circumstances.

15                                                 21.

16            Plaintiff has performed all of Plaintiff’s obligations under the terms of the

17     Policy. Plaintiff has presented Proofs of Loss to Defendant, and presented claims

18     under the Policy with Defendant, which have been denied. Plaintiff has exhausted

19     Plaintiff’s remedies under the Policy, short of litigation.

20                                                 22.

21            Defendant has breached its contract with Plaintiff by failing to pay Plaintiff’s

22     claims in accordance with the terms of the Policy. Plaintiff has been damaged in the

23     amount of $15,604.39, or such other amount as may be proven at trial, because of

24     Defendant’s failure to pay for damages which are covered under the Policy.

25     ///

26     ///

27     ///

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 1                                    THIRD CLAIM FOR RELIEF

 2                                        (Breach of Contract)

 3                                                 23.

 4            Plaintiff re-alleges Paragraphs 1 through 22 above.

 5                                                 24.

 6            Plaintiff entered into an insurance contract with Defendant. Defendant agreed

 7     to insure Plaintiff against any defects caused by liens or encumbrances on the title of

 8     1726 Softwood Way, caused by the real estate of real estate taxes or assessments

 9     imposed by a governmental authority due or payable, but unpaid. Despite this

10     agreement, Defendant refused to pay Plaintiff’s losses related to a covered risk.

11                                                 25.

12            Plaintiff is the beneficiary of the insurance contract and has the right to receive

13     loss payment in these circumstances.

14                                                 26.

15            Plaintiff has performed all of Plaintiff’s obligations under the terms of the

16     Policy. Plaintiff has presented Proofs of Loss to Defendant, and presented claims

17     under the Policy with Defendant, which have been denied. Plaintiff has exhausted

18     Plaintiff’s remedies under the Policy, short of litigation.

19                                                 27.

20            Defendant has breached its contract with Plaintiff by failing to pay Plaintiff’s

21     claims in accordance with the terms of the Policy. Plaintiff has been damaged in the

22     amount of $19,103.03, or such other amount as may be proven at trial, because of

23     Defendant’s failure to pay for damages which are covered under the Policy.

24                                   FOURTH CLAIM FOR RELIEF

25                                        (Breach of Contract)

26                                                 28.

27            Plaintiff re-alleges Paragraphs 1 through 27 above.

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 1                                                  29.

 2            Plaintiff entered into an insurance contract with Defendant. Defendant agreed

 3     to insure Plaintiff against any defects caused by liens or encumbrances on the title of

 4     1736 Softwood Way, caused by the real estate of real estate taxes or assessments

 5     imposed by a governmental authority due or payable, but unpaid. Despite this

 6     agreement, Defendant refused to pay Plaintiff’s losses related to a covered risk.

 7                                                  30.

 8            Plaintiff is the beneficiary of the insurance contract and has the right to receive

 9     loss payment in these circumstances.

10                                                  31.

11            Plaintiff has performed all of Plaintiff’s obligations under the terms of the

12     Policy. Plaintiff has presented Proofs of Loss to Defendant, and presented claims

13     under the Policy with Defendant, which have been denied. Plaintiff has exhausted

14     Plaintiff’s remedies under the Policy, short of litigation.

15                                                  32.

16            Defendant has breached its contract with Plaintiff by failing to pay Plaintiff’s

17     claims in accordance with the terms of the Policy. Plaintiff has been damaged in the

18     amount of $19,103.00, or such other amount as may be proven at trial, because of

19     Defendant’s failure to pay for damages which are covered under the Policy.

20                                   CLAIM FOR ATTORNEY FEES

21                                                  33.

22            Because settlement was not made within six (6) months of Defendant receiving

23     proof of the loss, Plaintiff is entitled to recover attorney fees, pursuant to ORS

24     742.061, as to each of Plaintiff’s claims for relief.

25     WHEREFORE, Plaintiffs request the following relief:

26            1.     On Plaintiff’s First Claim for Relief, judgment against Defendant in the

27                   amount of $15,594.95, or such other amount as may be proven at trial;

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 1          2.    On Plaintiff’s Second Claim for Relief, judgment against Defendant in

 2                the amount of $15,604.39 or such other amount as may be proven at

 3                trial;

 4          3.    On Plaintiff’s Third Claim for Relief, judgment against Defendant in the

 5                amount of $19,103.03 or such other amount as may be proven at trial;

 6          4.    On Plaintiff’s Fourth Claim for Relief, judgment against Defendant in the

 7                amount of $19,103.00 or such other amount as may be proven at trial;

 8          5.    For attorney fees on each claim for relief, pursuant to ORS 742.061,

 9                costs and disbursements; and

10          6.    For such other relief as may be adjudged to be just and equitable.

11          Dated this 6th day of August, 2015.

12                              SORENSON, RANSOM & FERGUSON, LLP

13

14                              /s/ Carl A. Clyde
                                Carl A. Clyde
15                              OSB No. 095782
                                cclyde@roguevalleylaw.com
16                              Of Attorneys for Plaintiff

17

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